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                         7

                         8
                                                     UNITED STATES DISTRICT COURT
                         9
                                                CENTRAL DISTRICT OF CALIFORNIA
                        10
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                        11 IP GLOBAL INVESTMENTS                       Case No.
                           AMERICA, INC., a California
                        12 corporation,
                                                                       COMPLAINT FOR:
                        13              Plaintiff,
                                                                         (1) BREACH OF CONTRACT;
                        14   v.
                        15 BODY GLOVE IP HOLDINGS, LP, a                 (2) BREACH OF THE
                           Delaware organization; MARQUEE                    COVENANT OF GOOD
                        16 BRANDS, LLC, a Delaware organization;
                           and DOES 1 through 25, inclusive,                 FAITH AND FAIR
                        17                                                   DEALING;
                                        Defendants.
                        18
                                                                         (3) INTENTIONAL
                        19                                                   INTERFERENCE WITH
                        20
                                                                             CONTRACTUAL
                                                                             RELATIONS;
                        21

                        22                                               (4) INTENTIONAL
                                                                             INTERFERENCE WITH
                        23                                                   PROSPECTIVE
                        24                                                   ECONOMIC
                                                                             ADVANTAGE;
                        25

                        26                                               (5) DECLARATORY RELIEF

                        27
                                                                       JURY TRIAL DEMANDED
                        28

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                         1         IP Global Investments America, Inc. (“IPG” or “Plaintiff”), through its counsel
                         2   of record, hereby complains and alleges with knowledge as to its own conduct and on
                         3   information and belief against defendants Marquee Brands, LLC (“Marquee Brands”)
                         4   and Body Glove IP Holdings, LP (“Body Glove IP”) (collectively, “Defendants”), as
                         5   follows:
                         6                                  JURISDICTION AND VENUE

                         7         1.     This Court has jurisdiction over the subject matter of this action pursuant
                         8   to the consent of the parties. Specifically, Paragraph 23 of the parties’ License
                         9   Agreement at the heart of this matter expressly provides that any legal action
                        10   necessary to enforce or interpret the terms of the License Agreement “will be brought
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                        11   in the Los Angeles or Orange County Superior Court or in the Central District for the
                        12   District of California, and the parties hereby submit to the jurisdiction of said courts.”
                        13         2.     In addition, because Plaintiff is a citizen of California, and Defendants
                        14   are citizens of Delaware, respectively, this Court also has original jurisdiction under
                        15   28 U.S.C. § 1332, in that this is a civil action between citizens of different states in
                        16   which the matter in controversy exceeds, exclusive of costs and interest, seventy-five
                        17   thousand dollars.
                        18         3.     Venue in this district is proper pursuant to 28 U.S.C. § 1391,
                        19   subdivisions (b) and (c), because both parties conduct business in this judicial district,
                        20   and a substantial part of the events giving rise to the claims herein occurred in this
                        21   judicial district and because Defendants’ contacts with this judicial district are
                        22   sufficient to subject it to personal jurisdiction.
                        23                                        THE PARTIES
                        24         4.     At all times relevant to this Complaint, plaintiff IP Global Investments
                        25   America, Inc. (“IPG” or “Plaintiff”), was and is a California corporation.
                        26         5.     Plaintiff is informed and believes, and on that basis alleges, that
                        27   defendant Body Glove IP Holdings, LP (“Body Glove IP”), is a limited partnership
                        28   organized under Delaware law.

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                         1         6.       Plaintiff is informed and believes, and on that basis alleges, that
                         2   defendant Marquee Brands LLC (“Marquee Brands”) is a limited liability company
                         3   organized under Delaware law.
                         4         7.       The true names and capacities, whether individual, corporate, associate
                         5   or otherwise, of defendant Does 1 through 25, inclusive, are unknown to Plaintiff, and
                         6   Plaintiff therefore sues said defendants by such fictitious names. Plaintiff will amend
                         7   the Complaint to show the true names and capacities when they have been
                         8   ascertained.
                         9         8.       Plaintiff is informed and believes, and on that basis alleges, that each of
                        10   the defendants named herein as a Doe is in some way responsible for the acts and
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                        11   events alleged herein.
                        12         9.       Plaintiff is informed and believes, and on that basis alleges, that at all
                        13   times mentioned herein, Doe defendants, and each of them, were the agents, servants
                        14   and/or employees of each other, aided and abetted each other, were part of the same
                        15   enterprise, and were acting within the full course and scope of said agency, enterprise,
                        16   relationship, and/or employment, and with the full knowledge and consent, either
                        17   express or implied, of each of the other defendants.
                        18                            NATURE OF THE CONTROVERSY
                        19         10.      This is a classic case of “buyer’s remorse” where a large and
                        20   sophisticated private investment conglomerate acquired a controlling interest in the
                        21   Body Glove brand, and not liking the Plaintiff’s valid and longstanding license
                        22   agreement assumed in the deal, has resorted to unlawful tactics and economic
                        23   bullying in an effort to force Plaintiff to “re-negotiate” its licensed rights on terms far
                        24   more favorable to Defendants – in essence, scrap a negotiated agreement that has
                        25   been in operation for decades now, and re-write a new agreement to Defendants’
                        26   liking.
                        27         11.      Specifically, this matter arises out of a contract between Plaintiff and
                        28   defendant Body Glove IP, pursuant to which Plaintiff (as licensee) has rights to and

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                         1   has developed, sub-licensed, marketed, supplied, operated and managed the Body
                         2   Glove brand in nearly all countries in Asia (hereafter, referred to as the “License
                         3   Agreement”). Pursuant to the License Agreement, the principal of Plaintiff has spent
                         4   nearly 30 years of his life introducing and building the Body Glove brand in Asia,
                         5   which now generates millions of dollars per year in revenue for Defendants, Plaintiff,
                         6   and Plaintiff’s sub-licensees.
                         7         12.    For nearly 30 years, Plaintiff (including its predecessor in interest) had a
                         8   seamless working relationship with Defendants’ predecessors – a family-owned
                         9   operation – and dutifully carried out all of its obligations under the License
                        10   Agreement. In 30 years of working together to build the Body Glove brand in Asian
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                        11   markets, Plaintiff was never accused of materially breaching the parties’ License
                        12   Agreement. However, this drastically changed when, in late 2016, the founders of
                        13   Body Glove sold a majority interest in their brand to defendant Marquee Brands. By
                        14   its own website description, Marquee Brands is “a brand acquisition, licensing and
                        15   development company,” which, on information and belief, is owned and “sponsored”
                        16   by one of the world’s largest private investment management firms, Neuberger
                        17   Berman (a company that manages over $225 billion in client assets).
                        18         13.    After this transition from a family-owned business to one that is
                        19   managed by a massive conglomerate primarily concerned with increasing their
                        20   bottom line, all of the goodwill that Plaintiff had built up over the past 30 years was
                        21   summarily disregarded. Instead, soon after their acquisition, Defendants initiated a
                        22   ruthless profit-driven scheme aimed at trying to squeeze Plaintiff into conceding
                        23   valuable rights to Defendants, or else push Plaintiff and their sub-licensees out of this
                        24   economic relationship altogether.
                        25         14.    Specifically, despite having conducted a detailed review of all of
                        26   Plaintiff’s license and sub-license agreements and financial records prior to taking
                        27   over the Body Glove brand in November 2016, Defendants almost immediately
                        28   thereafter began to issue threats of canceling the License Agreement if Plaintiff

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                         1   refused to “re-negotiate” certain material terms. To “persuade” Plaintiff, Defendants
                         2   coupled such threats with vague and clearly contrived accusations of “non-
                         3   compliance” by Plaintiff, and then used such baseless and unspecified accusations as
                         4   purported “justification” to obstruct Plaintiff’s ability to conduct its ongoing business
                         5   under the License Agreement. Such actions, as noted below intentionally interferes
                         6   with Plaintiff’s ability to perform its obligations to sub-licensees. As the License
                         7   Agreement requires Defendant's approval of any new products submitted by Plaintiff,
                         8   Defendants have abused this provision in bad faith (and contrary to its intent) by
                         9   claiming that they cannot approve any products submitted by Plaintiff because
                        10   Plaintiff is in “non-compliance” with the contract. However, Defendants have
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                        11   refused to specify how Plaintiff was purportedly “non-compliant” or could be
                        12   compliant. In addition to refusing to review any products, Defendants have failed and
                        13   refused to provide any advertising, artwork, or marketing materials or support, as
                        14   required to support Plaintiff’s activities and obligations under the license and sub-
                        15   license agreements; have refused to approve standard filings for the authorization of
                        16   Plaintiff’s agents to inspect and import licensed products into Plaintiff’s licensed
                        17   territories; and have refused to investigate and prevent the sale of unauthorized goods
                        18   in violation of Plaintiff’s exclusive rights – all in a transparent effort to interfere with
                        19   Plaintiff’s and its sub-licensees’ current and future businesses as a means for
                        20   leverage.
                        21         15.    In other words, Defendants are intentionally holding the business of
                        22   Plaintiff and its sub-licensees hostage in an orchestrated plan to pressure Plaintiff into
                        23   re-negotiating its licensed rights to now relinquish its territories, increase its royalty
                        24   percentages and payments to Defendants, and remove licensed product categories
                        25   from Plaintiff’s control, among other things. Defendants’ threats and willful
                        26   obstruction of Plaintiff’s business also have had the effect of severely hindering its
                        27   performance of obligations to sub-licensees, as well as chilling Plaintiff’s ongoing
                        28   negotiation with a prospective buyer in Malaysia of Plaintiff’s business – a

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                         1   negotiation that Defendants were fully aware of at the time of their actions, and
                         2   plainly sought to stop before their License Agreement was assumed by a foreign
                         3   party.
                         4            16.   In sum, Defendants are unlawfully attempting to bully Plaintiff into
                         5   relinquishing valuable contract rights. They are leveraging the threat of irreparably
                         6   destroying Plaintiff’s business and business relationships – a life’s work in building
                         7   the brand in Asia for the past 30 years – as a strong-arm means for bringing Plaintiff
                         8   to its knees and, thus, back to the bargaining table. Defendants’ actions not only
                         9   constitute a material breach of the contract and the covenant of good faith and fair
                        10   dealing, but also constitute knowing and malicious interference with Plaintiff’s
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                        11   existing and prospective business relationships. Moreover, Defendants’ actions have
                        12   caused and will continue to cause irreparable harm to Plaintiff’s business and to the
                        13   Body Glove brand in the Asian markets where Plaintiff conducts its business.
                        14   Plaintiff, therefore, also seeks injunctive relief by this Complaint, and will soon ask
                        15   the Court for a temporary restraining order in this regard.
                        16                                GENERAL ALLEGATIONS
                        17      A. GENERAL BACKGROUND.
                        18            17.   On information and belief, the Body Glove brand was established in
                        19   Redondo Beach in 1953, by brothers Bob and Bill Meistrell. According to
                        20   Defendant’s website, what began as a venture that pioneered wetsuit technology has
                        21   evolved into one of the most successful and recognizable brands for outdoor sports
                        22   and apparel with worldwide appeal.
                        23            18.   Plaintiff has significantly contributed to the dramatic growth and
                        24   worldwide success of the brand. Specifically, for the past 30 years, Plaintiff has
                        25   worked with and for the former owners of the Body Glove brand, as licensees, to
                        26   develop and establish markets for the brand throughout much of Asia, where the
                        27   brand was unknown at the time Plaintiff obtained its license. Pursuant to a 1988
                        28   License Agreement (as subsequently amended), Plaintiff was authorized to exploit the

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                         1   brand throughout most countries in Asia. Plaintiff, in turn, fulfilled its obligations
                         2   and has built the Body Glove business in Asia by entering into and managing separate
                         3   sub-license agreements which confer the right to the sub-licensees to develop,
                         4   manufacture, market, distribute and sell products approved by Defendants. In
                         5   Thailand alone, Plaintiff currently operates over 150 retail stores dedicated to selling
                         6   licensed Body Glove products through an exclusive license (a business that has been
                         7   established by Plaintiff for over 25 years), as well as licenses and distribution
                         8   agreements for the sales of Body Glove products in other countries within Plaintiff’s
                         9   licensed territories.
                        10          19.    Like any competitive market, any significant disruption in the
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                        11   manufacturing and approval process of the licensed Body Glove products will cause
                        12   substantial – and irreparable – harm to Plaintiff’s business, the sub-licensees’
                        13   business, and the brand itself in those markets. In particular, disruption of these
                        14   critical processes will, on information and belief, cause fear among sub-licensees in
                        15   these foreign markets, resulting in those sub-licensees abandoning the brand,
                        16   competitors filling the void left by the abandoned Body Glove brand, and thereby
                        17   undermining 30 years of devoted work by Plaintiff to build the brand in these
                        18   countries, and causing irreparable harm to Plaintiff’s business and reputation. In
                        19   addition to the above, the sale of the licensed apparel is seasonal – thus, once a
                        20   shipping season has been lost, there is no possible manner in which to make up the
                        21   loss of the sales and re-orders to re-supply sold out goods. Put simply, customers will
                        22   purchase another brand in the absence of the Body Glove goods they desired, causing
                        23   irreparable harm. In addition, a retailer will have relied on the goods being delivered
                        24   to fill its retail store floor and fixtures, but when such goods are not delivered, it will
                        25   create a gap in its sales floor, leaving valuable retail space unfilled with the intended
                        26   Body Glove product. This is particularly true for the Body Glove retail stores that
                        27   exclusively sell only Body Glove products and have no other brands in which to fill
                        28   its retail shelves and floor. The Body Glove retail stores are essentially being put out

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                         1   of business by Defendants’ actions. Retailers are thereafter reluctant to order new
                         2   products from a licensee that cannot deliver, thus irreparably harming the brand.
                         3   Further, any potential new sub-licensees will be reluctant to enter into a license
                         4   agreement with the uncertainty of being able to perform in light of Defendant’s
                         5   actions and unlawful obstruction.
                         6         20.    According to its website, Marquee Brands considers itself to be a
                         7   sophisticated expert in acquiring and developing brands worldwide, and accordingly,
                         8   on information and believe, is well aware of the dire consequences of materially
                         9   disrupting Plaintiff’s business (and that of its sub-licensees) in its exclusive territories.
                        10      B. RELEVANT PROVISIONS OF THE LICENSE AGREEMENT
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                        11         21.    The predecessors-in-interest to both Plaintiff and Defendants entered into
                        12   a contract entitled the “License Agreement,” effective on approximately April 1,
                        13   1988. The License Agreement broadly confers upon Plaintiff the exclusive right and
                        14   license to use the Body Glove brand and trademarks in connection with the design,
                        15   manufacture, advertisement and sale of certain Licensed Products in certain Asian
                        16   territories, as defined thereafter in the contract.
                        17                1. The Asian Territories Licensed to Plaintiff.
                        18         22.    Under the original License Agreement, Plaintiff was entitled to use the
                        19   Body Glove brand and trademarks only in the following territories of Asia: Thailand,
                        20   Taiwan, Hong Kong, Indonesia, Macao, Malaysia, Philippines, and Singapore. In
                        21   December 1989, the parties entered into an amendment pursuant to which the parties
                        22   (Plaintiff’s and Defendants’ predecessors) revised the minimum annual royalty
                        23   payments by Plaintiff, and specified that the Asian “territory” specified in the License
                        24   Agreement shall specifically exclude Japan.
                        25         23.    On or about May 1, 1998, the original owner of the Body Glove brand
                        26   and trademarks (a company called “Dive N’ Surf”) assigned all of its rights in the
                        27   License Agreement with Plaintiff to Defendants’ immediate predecessor-in-interest,
                        28   Body Glove International, LLC.

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                         1         24.    In or about January 2011, the parties further amended the License
                         2   Agreement to update and confirm the contractual rights of the parties (hereafter, this
                         3   amendment to the License Agreement is referred to as the “2011 Amendment”).
                         4         25.    In the 2011 Amendment, the parties amended the definitions section of
                         5   the License Agreement to the effect that the defined Asian “Territory” for exploitation
                         6   by Plaintiff would now include only those countries and areas specified in the 2011
                         7   Amendment – which included all countries and areas previously specified in the
                         8   original License Agreement, plus the following additional countries: Bangladesh,
                         9   Bhutan, Brunei, Cambodia, China, India, Kazakhstan, Korea (North & South), Laos,
                        10   Maldives, Mongolia, Myanmar, Nepal, Sri Lanka, Taiwan, Vietnam, India and
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                        11   Pakistan.
                        12                2. No “Best Efforts” or “Use It or Lose It” Clause, Except as to India
                        13                    and Pakistan (with Cure Provisions).
                        14         26.    Furthermore, the 2011 Amendment provided what may be characterized
                        15   as a “best efforts” or “use it or lose it” clause, but only for India and Pakistan. In this
                        16   regard, the 2011 Amendment provides that Plaintiff must conduct some business in
                        17   the India and Pakistan market, respectively, within the time periods specified in the
                        18   2011 Amendment, or else Defendants are entitled to then provide six months’ notice
                        19   that they intend to remove India or Pakistan from the defined Territory list. Even
                        20   then, however, the 2011 Amendment specifies that Plaintiff may “cure” any such
                        21   deficiency in providing that, if Plaintiff does conclude a business transaction for the
                        22   license, sale or distribution of the Licensed Productions in India or Pakistan within the
                        23   six month notice period, Defendants no longer have the right to remove the India or
                        24   Pakistan from the Territory list.
                        25         27.    Notably, the 2011 Amendment expressly specifies that “[t]his removal
                        26   provision shall apply only to” India and Pakistan, “and no other countries in the
                        27   Territory.” Further important, the parties specified that the “best efforts” clause
                        28   originally written into Paragraph 12 of the License Agreement “is hereby deleted.”

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                          1   (Id. at 5.) As a result of the foregoing modifications by the parties, there is no “best
                          2   efforts” or “use it or lose it” requirement for any country or territory listed in the 2011
                          3   Amendment, except to the extent described above for only India and Pakistan.
                          4                 3. The Term is Not Set to Expire for Many Years and is Self-
                          5                    Renewing.
                          6         28.     With the 2011 Amendment, the parties also revised Paragraph 5 of the
                          7   License Agreement to now specify that term of the contract “shall continue for a
                          8   period of ten (10) years from the date of this Amendment” (thus, until January 2021),
                          9   and “shall automatically renew for continual successive ten (10) year periods
                         10   provided that LICENSEE has met or paid the Guaranteed Annual Minimum Royalties
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                         11   (as herein defined) and is not otherwise in uncured material breach of the License
                         12   Agreement.”
                         13                 4. Proper Notice of any Specific Breach and an Opportunity to Cure is
                         14                    Required.
                         15         29.     The License Agreement provides that “in the event of any breach of the
                         16   agreement, the party alleging such breach shall give written notice of the breach to
                         17   the breaching party, and shall specify a reasonable period of time within which the
                         18   breaching party is to cure the breach.” In other words, “the” particular breach must
                         19   be specified in the event any such notice is given with the express goal of allowing
                         20   the other party to cure.
                         21                 5. Defendants Must Provide Specific Details as the Basis for Any
                         22                    Disapproval of Product, While Also Suggesting Changes that
                         23                    Would Result in Subsequent Approval of Any Such Products.
                         24         30.     Paragraph 4 of the License Agreement extensively lays out a process for
                         25   approvals of Licensed Products by Defendants. The 2011 Amendment made
                         26   important changes to such process, the gist of which is to require Plaintiff to submit
                         27   all proposed designs and products bearing the Body Glove brand for Defendants’
                         28   review and approval for which Defendants have the exclusive right to exercise quality

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                          1   control over such produces and designs, and make any reasonable changes or
                          2   corrections within 10 business days.
                          3         31.    The 2011 Amendment also added two provisions critical to this case:
                          4   First, the amendment provides that any failure on the part of Defendants “to reject a
                          5   specific design or sample within said 10-day time period shall be deemed an approval
                          6   of the design or sample.” (Id.) Second, the 2011 Amendment provides that, “If
                          7   [LICENSOR] does not approve any particular Licensed Product, [LICENSOR] shall
                          8   accompany such disapproval with a statement in writing in reasonable detail of the
                          9   grounds for such disapproval and suggestions for the appropriate change required to
                         10   the submitted item, which, if made, would result in approval.” (Id. at p.8.)
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                         11         32.    In other words, if Defendants refuse to approve any products or designs
                         12   submitted by Plaintiff, Defendants are then required to provide a detailed reason for
                         13   such disapproval and a recommended change in the product submission that would
                         14   lead to subsequent approval – again, the clear goal being to facilitate the ongoing
                         15   approval of products so that Plaintiff and its sub-licensees may seamlessly operate
                         16   their businesses.
                         17                6. Defendants Must Provide Marketing and Promotional Support.
                         18         33.    Under Paragraph 12 of the 2011 Amendment, Defendants are required to
                         19   provide a certain level of marketing and promotional support to Plaintiff and its sub-
                         20   licensees. In particular, at Plaintiff’s written request, Defendants must provide
                         21   design, merchandising graphics, and art work to Plaintiff “within a reasonable time”
                         22   of receiving such request. Further, Defendants must maintain “a design library” that
                         23   is to remain available to Plaintiff and its agents and sub-licensees at all times. In
                         24   addition, Defendants must “provide reasonable marketing and promotional support,
                         25   including promotional materials such as slides, videos, graphics, and other uses of the
                         26   trademarks, copyrights, designs, marketing materials, products and similar items used
                         27   throughout the world,” to Plaintiff on a cost basis.
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                          1                  7. No Modifications to the Agreement Unless Contained in a Signed
                          2                     Writing.
                          3            34.   Notably, the License Agreement provides that no waiver or modification
                          4   of any terms or provisions of the Agreement are valid unless contained in a writing
                          5   signed by the parties.
                          6            35.   Thus, Defendants cannot unilaterally modify the License Agreement (or
                          7   their performance under the License Agreement) because they deem it unfavorable
                          8   for them.
                          9                  8. Attorneys’ Fees.
                         10            36.   Finally, the License Agreement provides that, in the event any legal
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                         11   action is necessary to enforce or interpret the terms of the License Agreement, the
                         12   prevailing party shall be entitled to recover all reasonable attorney’s fees and court
                         13   costs.
                         14      C. PLAINTIFF’S CONTRACTUAL RELATIONSHIPS WITH SUB-
                         15            LICENSEES.
                         16            37.   As noted above, Plaintiff has established longstanding licensing
                         17   relationships in the Territory for the sale and distribution of licensed Body Glove
                         18   products, including the operation of Body Glove-branded retail stores in the territory.
                         19            38.   Specifically, as intended and authorized under its License Agreements,
                         20   Plaintiff has properly and directly entered into sub-license agreements with entities in
                         21   foreign territories (neither Defendants nor their predecessors-in-interest are parties to
                         22   such sub-license agreements). These sub-license contracts confer upon the sub-
                         23   licensee rights as an exclusive sub-licensee to design, manufacture, use, duplicate,
                         24   develop, market, distribute, manage, operate, sell and otherwise exploit the Body
                         25   Glove trademarks in their designated Territory in accordance with the terms of the
                         26   sub-license contract. In exchange, the sub-licensee must ensure that its use of the
                         27   trademarks is consistent with the quality and style maintained by Defendants, and
                         28   must meet certain guaranteed performance minimums, and pay royalties in

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                          1   accordance with contractually specified percentages of Net Sales (as defined) directly
                          2   to Plaintiff, among other duties.
                          3         39.    For example, Plaintiff entered into such sub-license contract with an
                          4   entity now known as BGT Corporation Public Co., Ltd. (hereafter, “BGT”) in or
                          5   about 2007, pursuant to which BGT is authorized to exploit the territories of
                          6   Thailand, Vietnam, Myanmar, Laos, Kampuchea (Cambodia), and the Philippines.
                          7   Currently, BGT operates over 150 retail stand-alone stores or shops-within-shops
                          8   pursuant to its sub-license agreement with Plaintiff. These are long-term contracts
                          9   that self-renew in the absence of any material breach. Plaintiff has entered into a
                         10   similar contract with a company in Malaysia (hereafter, “BGM”), which currently
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                         11   operates more than 30 retail stand-alone stores or shops-within-shops in that territory
                         12   (together, Plaintiff’s sub-license agreements with BGT and BGM account for the bulk
                         13   of Plaintiff’s sub-license business).
                         14         40.    Notably, Plaintiff’s contracts with such sub-licensees acknowledge that
                         15   the Body Glove trademarks are owned by Defendants, and that Plaintiff retains
                         16   exclusive rights, control, supervision, approval and consent to the use of any licensed
                         17   and approved products by the sub-licensees in the specified territories. Of course,
                         18   such rights of approval and consent by Plaintiff are, in turn, dependent on Defendants,
                         19   who must in good faith review and approve of and consent to products submitted to
                         20   Defendants by Plaintiff under the License Agreement before such products may then
                         21   be exploited by approved by Plaintiff for exploitation by its sub-licensees.
                         22         41.    Significantly, in addition to its obligation to review and approve product
                         23   submissions, one of the express obligations of Plaintiff under its sub-license
                         24   agreements with BGT is to “[m]ake available designs, merchandising, graphics and
                         25   artwork, to BGT on a regular and continuing basis…” (A similar provision exists in
                         26   Plaintiff’s sub-license agreement with BGM.) It follows from such provisions that
                         27   any disruption of Plaintiff’s ability to obtain approval from Defendants for licensed
                         28   Body Glove products or any disruption in Plaintiff’s ability to make Defendant’s

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                          1   designs, merchandising, graphics and artwork available has the corollary effect of
                          2   also disrupting Plaintiff’s ability to meet its obligations to its sub-licensees, which
                          3   expressly rely upon the “regular and continuing” flow of approved products from
                          4   Plaintiff to carry out their businesses, particularly given that licensed products are in a
                          5   continuous and ongoing time sensitive cycle of development, sourcing, approval,
                          6   selling, manufacturing and distributing which, if broken, results in the inability to
                          7   fulfill Plaintiff’s contractual obligations and directly impacts the sub-licensees’ ability
                          8   to operate their businesses.
                          9         42.    Plaintiff is informed and believes, and upon such basis alleges, that, at all
                         10   relevant times, Defendants have been fully aware of Plaintiff’s relationships and
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                         11   contracts with its sub-licensees, reviewed all such contracts in their due diligence
                         12   before acquiring a majority interest in the Body Glove brand, and therefore fully
                         13   aware of the terms, conditions, and obligations under Plaintiff’s contracts with such
                         14   sub-licensees – including, as specified above, that such sub-license operations are
                         15   dependent on Defendants’ regular and ongoing approval of licensed products for use
                         16   in these foreign markets, and ongoing provision of marketing and promotional
                         17   support as required. Accordingly, Defendants are and were aware that disruption or
                         18   obstruction in approving licensed products and providing brand support would cause
                         19   corresponding disruption and/or irreparable harm to Plaintiff’s ability conduct its
                         20   business with current and prospective sub-licensees.
                         21      D. DEFENDANTS’ IMPROPER AND UNLAWFUL CONDUCT
                         22                1. Defendants Acquire the Brand and Assume the License Agreement.
                         23         43.    In or about November 2016, on information and belief, Marquee Brands
                         24   acquired a 75% interest in the intellectual property assets of Body Glove
                         25   International, LLC, which had owned all rights to the Body Glove brand and
                         26   associated trademarks. On information and belief, the original owners (the Meistrell
                         27   family), retained a minority 25% interest in the Body Glove brand. On information
                         28   and belief, Marquee Brands organized a Delaware limited partnership called Body

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                          1   Glove IP Holdings LP, through which to hold the Body Glove assets and operate the
                          2   business. According to Marquee Brands’ website, the Meistrell family remains a
                          3   limited partner in the brand, presumably (on information and belief) through
                          4   defendant Body Glove IP Holdings LP.
                          5         44.    On information and belief and prior to the acquisition, Marquee Brands
                          6   conducted thorough due diligence of the Body Glove assets and business, including
                          7   all of its financial arrangements. Marquee Brands specifically reviewed and was fully
                          8   aware of the License Agreement, and therefore knowingly assumed all terms and
                          9   conditions of Plaintiff’s License Agreement. Analysts and lawyers from sophisticated
                         10   investment giant, Neuberger Berman (which “sponsors” Marquee Brands), were
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                         11   heavily involved in these due diligence efforts – thus, Marquee Brands had a group of
                         12   sophisticated lawyers and financial analysts scouring Body Glove’s financial
                         13   arrangements and licensing agreements with Plaintiff and others before agreeing to
                         14   the acquisition. In fact, Plaintiff participated in due diligence calls with executives of
                         15   both Marquee Brands and Neuberger prior to the closing of the acquisition.
                         16         45.    On information and belief, in acquiring the Body Glove assets and brand,
                         17   Marquee Brands assumed the License Agreement and all associated obligations under
                         18   such Agreement.
                         19                2. Defendants Trump Up Various “Breaches” of the License
                         20                    Agreement as a Basis for Garnering Leverage to “Re-Negotiate” on
                         21                    More Favorable Terms.
                         22         46.    Shortly after acquiring a majority interest in the Body Glove brand, and
                         23   assuming the License Agreement, Defendants began to express their dissatisfaction
                         24   with the terms of the License Agreement to Plaintiff. In meetings and/or
                         25   communications among the parties, employees of Marquee Brands expressed to
                         26   Plaintiff that they wanted to retract certain countries from the Territory and essentially
                         27   reinsert the “best efforts” or “use it or lose it” provisions that the parties mutually
                         28   agreed to delete in the 2011 Amendment. The President of Marquee Brands even

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                          1   complained that he could not believe there was no “use it or lose it” provision in the
                          2   License Agreement, and never would have agreed to this, thus having full knowledge
                          3   of the ramifications of this fact. Defendants also expressed to Plaintiff that they are
                          4   unhappy with the royalty split in the License Agreement and subsequently demanded
                          5   that Plaintiff agree to change the royalty split so that Defendants would receive a
                          6   larger, if not majority, percentage of the royalties.
                          7         47.    Given Plaintiff’s significant investment of financial resources and time to
                          8   build the Body Glove brand in its Territory over the last 30 years, it had no reason to
                          9   undermine its own business by unilaterally re-writing the royalty split or removing
                         10   countries within its Territory. For this reason, Plaintiff did not agree to Defendants’
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                         11   initial suggestions or desire to renegotiate the License Agreement terms which it has
                         12   relied upon in making its financial investments in the Body Glove brand, particularly
                         13   given that Plaintiff had been restricted from expanding the brand in some countries
                         14   due to Body Glove’s failure to secure the proper intellectual property rights for the
                         15   brand in countries within Plaintiff's Territory. On information and belief, Defendants
                         16   thereafter commenced a scheme that would either force Plaintiff to “re-negotiate” the
                         17   License Agreement to Defendants’ liking, or else have their 30-year business
                         18   destroyed by Defendants’ refusal to perform its obligations according to the License
                         19   Agreement terms. Defendants began to unleash this strong-arm campaign during
                         20   meetings and conversations among the parties in or about April 13, 2017, at which
                         21   time Defendants expressed their demand for the return of certain countries within
                         22   Plaintiff’s licensed territories and a more favorable royalty payment to Defendants.
                         23         48.    Soon after the acquisition and being rebuffed in their initial demand to
                         24   pressure Plaintiff into re-negotiating their rights, Defendants began to threaten
                         25   cancellation of the contract for “substantial non-compliance” of the License
                         26   Agreement terms. Given the fact that these accusations came shortly after Plaintiff
                         27   declined to re-work many aspects of the contract to Defendants’ liking, Plaintiff
                         28   apprised Defendants of its position with respect to Defendant's accusations by letter of

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                          1   May 12, 2017 and advised Marquee Brands of the serious consequences of
                          2   interference with Plaintiff’s business and then-ongoing negotiations with a Malaysian
                          3   company to purchase Plaintiff’s business.
                          4         49.    Defendants eventually responded by threatening to tie up Plaintiff’s
                          5   License Agreement on the basis of claiming alleged “breaches” of the agreement if
                          6   their demands were not met. Defendants made good on such threats by issuing a
                          7   contrived “Notice of Default” on May 17, 2017, in which Defendants claimed in the
                          8   vaguest possible terms that Plaintiff had “fail[ed] to adhere to the product approval
                          9   process outlined in the License Agreement.” Defendants vaguely claimed that
                         10   Plaintiff was guilty of an “ongoing breach of the product and store opening approval
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                         11   process,” and that they considered “such actions to be a material breach of the
                         12   License Agreement,” despite the fact that such stores had been in operation for over
                         13   25 years and were used by Defendants’ predecessor-in-interest in Body Glove
                         14   marketing materials. Defendants further accused Plaintiff of improperly allowing a
                         15   sub-licensee in Thailand to incorporate a Body Glove trademark into its company
                         16   name in violation of the License Agreement, despite the fact that the use was
                         17   previously approved by their predecessor and the use of the name was ultimately
                         18   removed from the corporate name many years before Defendant’s acquisition of the
                         19   brand. Defendants also claimed that they are “in the process of launching a review of
                         20   Licensee’s historical adherence to…fulfilling its obligations under the ‘Best Efforts’
                         21   clause’” of the License Agreement – presumably, to try to come up with some basis
                         22   for their accusations, given that any “Best Efforts” clause was expressly deleted from
                         23   the License Agreement by mutual agreement of the parties in 2011.
                         24         50.    Perhaps the best evidence of Defendants’ “Notice of Default” as a bad
                         25   faith charade is the deliberate vagueness and lack of specificity of the supposed
                         26   “breaches” by Plaintiff. Contrary to the requirements of the License Agreement for
                         27   such Notice to specify “the breach,” Defendants merely suggest, in the haziest
                         28   possible language, that Plaintiff has failed to follow approval procedures. Despite

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                          1   multiple requests for clarification of the nature of the supposed breach (so that
                          2   Plaintiff could cure any possible breach), Defendants failed to specify or explain the
                          3   alleged breach in question, offered no specific instances of any such breach, and
                          4   offered no suggestions to remedy the alleged breaches, thereby rendering it
                          5   impossible to cure any such supposed “breaches” under the License Agreement.
                          6         51.    Upon information and belief, Plaintiff believes that Defendants
                          7   fabricated the notion of any material “breach” and, further, had no interest in properly
                          8   allowing Plaintiff to “cure” any such alleged breach. Rather, Defendants sought to
                          9   use this “Notice of Default” as yet another means to bully Plaintiff to unilaterally give
                         10   up its License Agreement rights, with Marquee Brands’ corporate counsel stating his
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                         11   hope to reach a “mutually agreeable resolution” that "avoids litigation."
                         12         52.     Plaintiff responded on June 2, 2017, noting the vagueness (and
                         13   falseness) of Defendants’ accusation, and requested clarification of the specific
                         14   instances of the alleged “failure to follow the approval process” so that it may cure
                         15   any such alleged breaches, as contemplated by the License Agreement.
                         16         53.    Perhaps the most telling evidence of Defendants’ transparent scheme,
                         17   however, is shown by their response to Plaintiff’s letter. By written reply, after
                         18   Plaintiff demanded further specifics from Defendants in accordance with their
                         19   contract, Defendants doubled down on their previous vagueness by claiming, in
                         20   equally vague fashion, that “we have many examples” of alleged breaches of the
                         21   approval processes and “would be happy to provide examples of such to you
                         22   forthwith” – but never provided any examples thereafter. Instead, in an implicit
                         23   admission that Defendants have no basis at all for their accusations, Defendants
                         24   advised that they are currently “researching the history” of the relationship with
                         25   Plaintiff (in a clear effort to try to manufacture some, any, basis for gaining leverage
                         26   on Plaintiff), and until such time as Defendants can find some basis for their
                         27   accusations, they were suspending all approvals of products submitted by Plaintiff.
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                          1         54.    In sum, because Defendants have been unable to provide any valid basis
                          2   for Plaintiff to re-negotiate the License Agreement to their liking, Defendants decided
                          3   to purposely block all further licensing business conducted by Plaintiff (and its sub-
                          4   licensees) going forward in a last-ditch effort to force capitulation to their demands.
                          5   Indeed, by letter of June 12, 2017, Defendants openly admit their unlawful
                          6   obstruction of these businesses in stating that, because of Plaintiff’s (unspecified)
                          7   “disregard for the approval process,” and because the (unspecified) products offered
                          8   without approval are “so varied and numerous,” Defendants have unilaterally
                          9   determined that the “only way to re-establish an orderly and efficient approval system
                         10   would be to declare all Licensed Products currently offered for sale by [Plaintiff] or
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                         11   its sub-licensees, to be disapproved and require that [Plaintiff] re-submit them all for
                         12   approval.” Defendants, thus, declared that they are “suspending all product approvals
                         13   until we can better understand the extent of the issue.”
                         14         55.    Consistent with this communication, the record shows that Defendants
                         15   are now systematically refusing to approve any licensed products or designs
                         16   submitted by Plaintiff for use by Plaintiff and/or its sub-licensees. Even more
                         17   egregious, the purported “justification” given by email in response to each product
                         18   submittal by Plaintiff is the same contrived pat answer that, “We cannot approve any
                         19   further submissions while your contract status is unresolved and currently in breach.”
                         20   This, of course, is in bad faith given that (a) Plaintiff’s “contract status” is not
                         21   “unresolved” in the least (there is an ongoing and valid contractual relationship), and
                         22   (b) Defendants have refused to provide a single example of any “breach,” despite
                         23   Plaintiff’s multiple demands for the same.
                         24         56.    The foregoing responses from Defendants are not only contrived in bad
                         25   faith, but violate the express terms of the License Agreement. Specifically, upon any
                         26   rejection of a submitted product, Defendants are required to particularize in writing
                         27   and with “reasonable detail” the specific basis for such disapproval along with
                         28   “suggestions for the appropriate change required to the submitted item” that would

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                          1   then result in approval. Here, because Defendants plainly fabricated their accusation
                          2   of “non-compliance,” they have failed and refused to comply with the foregoing
                          3   requirement to specify why such products are being disapproved, why Plaintiff is in
                          4   non-compliance at all, or offer any suggestions for changing the submitted item to
                          5   obtain approval and keep these businesses running, as contemplated by the contract.
                          6         57.     In fact, Defendants are now refusing to perform any of their material
                          7   obligations under the License Agreement. Thus, in addition to unilaterally freezing
                          8   all product approval in violation of the contract, Defendants also have failed and
                          9   refused to fulfill their contractual obligations to provide the necessary marketing and
                         10   promotional support, to provide customary authorizations for shipment of product, or
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                         11   to prevent the unauthorized sale of Body Glove products in countries that Defendants
                         12   know are within Plaintiff’s contractually licensed territories.
                         13         58.    Most egregious, it is clear that Defendants have taken this course of
                         14   action – i.e., unilaterally freezing all product approval, shipment authorization, and
                         15   marketing support – while knowing that such obstruction not only impedes Plaintiff’s
                         16   ability to operate its business under the License Agreement, but also prevents Plaintiff
                         17   from performing its obligations to its sub-licensees (and, thus, knowingly disrupts and
                         18   potentially destroys the businesses of Plaintiff’s sub-licensees, all of whom depend on
                         19   a “regular and continuing” stream of approved products and marketing support from
                         20   Plaintiff – by way of Defendants – to keep their sub-licensed operations running).
                         21   Defendants are fully aware that their tactics are jeopardizing the continued operation
                         22   of nearly 200 retail stores in Thailand and Malaysia, which, as described above,
                         23   cannot survive without the continued flow of sufficient products to market and sell, or
                         24   proper brand support (as these stores exclusively market and sell Body Glove
                         25   products).
                         26         59.    Through the bad faith misuse of their contractual discretion on all
                         27   product approval, Defendants are holding hostage the entire businesses of Plaintiff
                         28   and its sub-licensees – threatening to destroy Plaintiff’s life’s work in building up the

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                          1   Body Glove brand in Asia for the past 30 years – as a means for bullying Plaintiff into
                          2   relinquishing its own valid and valuable rights to Defendants.
                          3         60.    The foregoing conduct by Defendants has had an immediate and
                          4   significant impact on Plaintiff’s current and future business relationships, including
                          5   with manufacturers and sub-licensees in Asian markets.
                          6         61.    Moreover, much of the harm to Plaintiff, its sub-licensees, and to the
                          7   Body Glove brand, is irreparable. As detailed earlier, competitors will immediately
                          8   move in to fill the void created by Defendants’ total freeze of the manufacturing and
                          9   sale of Body Glove products in Plaintiff’s territory, leaving Plaintiff unable to re-gain
                         10   the market share that it built up over the past 30 years in such markets. Such
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                         11   irreparable harm also extends to the retail stores in the territory (including Thailand
                         12   and Malaysia, with approximately 200 retail stores combined), threatening the very
                         13   existence of these stores and retail operations in a very challenging market – stores
                         14   that employ hundreds of individuals and generate over $30 million in annual sales –
                         15   and all but precluding any prospective sub-licensee relationships from being
                         16   consummated.
                         17         62.    Defendants’ economic bullying scheme to trump up false accusations of
                         18   “breach,” combined with threats of litigation and obstruction of Plaintiff’s (and its
                         19   sub-licensees’) business, are unlawful on multiple grounds set forth below.
                         20   Moreover, the evidence makes clear that Defendants deliberately, maliciously,
                         21   fraudulently, and oppressively, instituted their scheme, and exemplary damages are
                         22   therefore warranted.
                         23                                  FIRST CLAIM FOR RELIEF
                         24                          (Breach of Contract Against All Defendants)
                         25         63.    Plaintiff re-alleges each and every allegation set forth in paragraphs 1
                         26   through 62, above, and incorporates them herein by this reference.
                         27         64.    On or about April 1, 1988, Plaintiff’s and Defendants’ predecessors-in-
                         28   interest entered into a contract entitled “License Agreement” pursuant to which the

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                          1   licensee secured the right to use the Body Glove brand in connection with the design,
                          2   manufacture, advertisement and sale of certain licensed products in certain countries
                          3   in Asia, as specified in the contract. On or about December 11, 1989, Plaintiff’s and
                          4   Defendants’ predecessors-in-interest entered into an amendment to the License
                          5   Agreement. Plaintiff then entered into another amendment with Defendants’
                          6   predecessor-in-interest, effective January 1, 2011. The material terms to the
                          7   foregoing agreements have been alleged in detail above and are incorporated herein.
                          8         65.    Plaintiff has performed all conditions, covenants, and promises required
                          9   on its part to be performed in accordance with the terms and conditions of the License
                         10   Agreement, except those obligations that were waived by Defendants or which
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                         11   Plaintiff was excused or prevented from performing.
                         12         66.    Defendants have breached the License Agreement with Plaintiff in the
                         13   manners alleged in detail above.
                         14         67.    After Plaintiff learned of the contract violations by Defendants, Plaintiff
                         15   and its counsel have requested that Defendants perform its contractual obligations
                         16   under the License Agreement, as detailed above.
                         17         68.    Despite these requests, Defendants have failed and refused to honor or
                         18   perform its contractual obligations to Plaintiff.
                         19         69.    As a proximate result of Defendants’ breach, as alleged herein, Plaintiff
                         20   has suffered damages in an amount to be proven at trial which far exceeds the
                         21   jurisdictional amount, plus statutory interest.
                         22         70.    The License Agreement also provides that the prevailing party, in any
                         23   action commenced to enforce or interpret the terms of the License Agreement, is
                         24   entitled to recover all reasonable attorney’s fees and court costs. Plaintiff therefore
                         25   will seek such recovery of all reasonable costs and expenses in addition to the
                         26   compensatory damages described above.
                         27         71.    Plaintiff further requests issuance of a temporary, preliminary, and
                         28   permanent injunction against Defendants, and anyone acting in concert with

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                          1   Defendants or at their direction and management, to enjoin Defendants from
                          2   continuing to engage in the unlawful conduct which is causing irreparable harm to
                          3   Plaintiff’s business and to the Body Glove brand, by maintaining the status quo of the
                          4   relationship of the parties during the course of this action.
                          5                                 SECOND CLAIM FOR RELIEF
                          6                (Breach of the Implied Covenant of Good Faith and Fair Dealing
                          7                                      Against All Defendants)
                          8          72.   Plaintiff alleges each and every allegation set forth in paragraphs 1
                          9   through 62, above, and incorporates them herein by this reference.
                         10          73.   Every contract contains an implied covenant of good faith and fair
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                         11   dealing. Each party to a contract is thereby obligated to act in good faith at all times
                         12   in performing the contract and refrain from doing anything to unfairly interfere with
                         13   the right of the other party to receive the benefits of the contract.
                         14          74.   Here, as alleged in detail above, Defendants committed numerous acts
                         15   that unfairly interfered with, and effectively prevented, Plaintiff’s performance under
                         16   the contract, thereby depriving Plaintiff of the benefits of the License Agreement and
                         17   constituting a violation of the covenant of good faith and fair dealing implied in the
                         18   License Agreement.
                         19          75.   The examples include but are not limited to those instances alleged
                         20   above, such as Defendants’ bad faith contrivance of vague and unsupported
                         21   accusations of “non-compliance” as purported justification for refusing to approve
                         22   any products submitted by Plaintiff pursuant to the approval procedure outlined in the
                         23   License Agreement – in an effort to force Plaintiff to “re-negotiate” the License
                         24   Agreement by holding Plaintiff’s business “hostage.”
                         25          76.   As a direct and proximate result of Defendants’ breaches of the implied
                         26   covenant of good faith and fair dealing, Plaintiff has suffered damages in an amount
                         27   to be proven at trial which far exceeds the jurisdictional amount, plus statutory
                         28   interest.

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                          1         77.    The License Agreement also provides that the prevailing party, in any
                          2   action commenced to enforce or interpret the terms of the License Agreement, is
                          3   entitled to recover all reasonable attorney’s fees and court costs. Plaintiff therefore
                          4   will seek such recovery of all reasonable costs and expenses in addition to the
                          5   compensatory damages described above.
                          6         78.    Plaintiff further requests issuance of a temporary, preliminary, and
                          7   permanent injunction against Defendants, and anyone acting in concert with
                          8   Defendants or at their direction and management, to enjoin Defendants from
                          9   continuing to engage in the unlawful conduct which is causing irreparable harm to
                         10   Plaintiff’s business and to the Body Glove brand.
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                         11                              THIRD CLAIM FOR RELIEF
                         12                   (Intentional Interference with Contractual Relations
                         13                   Against Defendant Marquee Brands, and Does 1-25)
                         14         79.    Plaintiff re-alleges each and every allegation set forth in paragraphs 1
                         15   through 62, above, and incorporates them herein by this reference.
                         16         80.    Plaintiff has a valid existing contract with defendant Body Glove IP
                         17   Holdings, LP.
                         18         81.    Plaintiff is informed and believes, and on that basis alleges, that at all
                         19   relevant times, defendant Marquee Brands, as a controlling majority shareholder of
                         20   Body Glove IP Holdings, LP, knew of the existence of this contractual relationship
                         21   and the economic benefits that Plaintiff derives from these contractual relationships.
                         22         82.    Plaintiff is informed and believes, and on that basis alleges, that Marquee
                         23   Brands intended to disrupt this contractual relationship.
                         24         83.    Plaintiff is informed and believes, and on that basis alleges, that Marquee
                         25   Brands’ conduct, as alleged above, prevented performance of the License Agreement,
                         26   or made performance more expensive or difficult. Specifically, as alleged on
                         27   information and belief, Marquee Brands has acted to disrupt and undermine the
                         28   License Agreement by, among other things, directing employees of Body Glove IP

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                          1   Holdings, LP, to refuse approval of any and all new products submitted by Plaintiff
                          2   pursuant to the License Agreement, and to do so without sufficient explanation or
                          3   opportunity to remedy required by the contract which has then deprived Plaintiff of its
                          4   contractual right to cure any supposed breach.
                          5           84.   As a direct and proximate result of the alleged conduct of Marquee
                          6   Brands, Plaintiff has been damaged. The exact amount of Plaintiff’s injury has not
                          7   yet ascertained, but will be proven at trial in this action and exceeds the jurisdictional
                          8   minimum.
                          9           85.   Plaintiff is informed and believes, and on such basis alleges, that
                         10   Plaintiff’s unjustified conduct was and is a substantial factor in causing Plaintiff’s
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                         11   harm.
                         12           86.   In committing the foregoing acts described herein, Marquee Brands has
                         13   acted with oppression, fraud, and/or malice. In particular, the record shows that this
                         14   obstruction of Plaintiff’s business, as ordered by Marquee Brands, is a deliberate and
                         15   unlawful attempt to pressure Plaintiff into re-negotiating the License Agreement and
                         16   obtain more favorable terms for Defendants. Plaintiff, therefore, is entitled to an
                         17   award of punitive damages against Marquee Brands pursuant to California Civil Code
                         18   section 3294.
                         19           87.   Marquee Brands has attempted and, unless enjoined, will continue to
                         20   intentionally disrupt Plaintiff’s contractual relationship with Body Glove IP Holdings,
                         21   LP. Plaintiff will continue to suffer irreparable injury unless the Court restrains
                         22   Marquee Brands’ wrongful conduct.
                         23                             FOURTH CLAIM FOR RELIEF
                         24     (Intentional Interference with Prospective Economic Advantage Against All
                         25                                         Defendants)
                         26           88.   Plaintiff re-alleges each and every allegation set forth in paragraphs 1
                         27   through 62, above, and incorporates them herein by this reference.
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                          1         89.    There exists a prospective economic relationship between and among
                          2   Plaintiff and the Malaysian company known as Yen Global Berhad. As of March 28,
                          3   2017, Plaintiff and Yen Global Berhad had entered into a letter of intent pursuant to
                          4   which Yen Global Berhad would acquire a majority interest in Plaintiff’s assets,
                          5   including the License Agreement, and for which Yen Global Berhad would pay a
                          6   substantial sum (millions of dollars) to Plaintiff. Plaintiff reasonably expected this
                          7   prospective economic relationship to be consummated. Thus, there was a probability
                          8   of future economic benefit from this prospective economic relationship.
                          9         90.    Plaintiff is informed and believes, and on such basis alleges, that
                         10   Defendants were, at all relevant times, aware of the existence of this prospective
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                         11   economic relationship and the probability of the future economic benefits that
                         12   Plaintiff would derive from such relationship.
                         13         91.    Plaintiff is informed and believes, and on such basis alleges, that
                         14   Defendants, with the intent to injure Plaintiff, has undertaken a series of actions, as
                         15   alleged above, designed to intentionally interfere, disrupt, and/or prevent Plaintiff’s
                         16   prospective economic relationship.
                         17         92.    Plaintiff is informed and believes, and on such basis alleges, that
                         18   Defendants’ actions alleged herein were independently wrongful separate from the
                         19   interference itself because, among other things, Defendants have violated the License
                         20   Agreement and the underlying covenant of good faith and fair dealing in the manner
                         21   alleged above, and defendant Marquee Brands deliberately and unjustifiably
                         22   interfered with the License Agreement.
                         23         93.    As a direct and proximate result of Defendants’ conduct, as alleged
                         24   herein, Plaintiff’s prospective economic relationship has been disrupted and Plaintiff
                         25   has suffered damages in an amount to be proven at trial which far exceeds the
                         26   jurisdictional amount, plus statutory interest
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                          1           94.   Plaintiff is informed and believes, and on such basis alleges, that
                          2   Defendants’ wrongful conduct was and is a substantial factor in causing Plaintiff’s
                          3   harm.
                          4           95.   In committing the foregoing acts described herein, Defendants acted with
                          5   oppression, fraud, and/or malice. In particular, the record shows that Defendants
                          6   purposely obstructed Plaintiff’s business and threatened legal action in a deliberate
                          7   attempt to pressure Plaintiff into re-negotiating the License Agreement and obtain
                          8   more favorable terms for Defendants, and also prevent Plaintiff from consummating
                          9   any agreement with Yen Global Berhad pursuant to which the License Agreement, in
                         10   its present form, would be assumed by Yen Global Berhad. Plaintiff, therefore, is
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                         11   entitled to an award of punitive damages against Marquee Brands pursuant to
                         12   California Civil Code section 3294.
                         13           96.   Defendants have attempted and, unless enjoined, will continue to
                         14   intentionally disrupt Plaintiff’s contractual relationship with Yen Global Berhad.
                         15   Plaintiff will continue to suffer irreparable injury unless the Court restrains
                         16   Defendants’ wrongful conduct.
                         17                               FIFTH CLAIM FOR RELIEF
                         18       (Intentional Interference with Contractual Relations with Sub-Licensees
                         19                                   Against All Defendants)
                         20           97.   Plaintiff re-alleges each and every allegation set forth in paragraphs 1
                         21   through 62, above, and incorporates them herein by this reference.
                         22           98.   Plaintiff has valid existing, long-term contracts with sub-licensees in the
                         23   Asian Territories defined under the License Agreement, including with BGT and
                         24   BGM.
                         25           99.   Plaintiff is informed and believes, and on that basis alleges, that at all
                         26   relevant times, Defendants knew of the existence of these contractual relationships
                         27   and the economic benefits that Plaintiff derives from these contractual relationships.
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                                                                    COMPLAINT
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                          1           100. Plaintiff is informed and believes, and on that basis alleges, that
                          2   Defendants intended to disrupt these contractual relationships.
                          3           101. Plaintiff is informed and believes, and on that basis alleges, that
                          4   Defendants’ conduct, as alleged above, prevented performance of Plaintiff’s sub-
                          5   license agreements, or made performance more expensive or difficult.
                          6           102. As a direct and proximate result of the alleged conduct of Defendants,
                          7   Plaintiff has been damaged. The exact amount of Plaintiff’s injury has not yet
                          8   ascertained, but will be proven at trial in this action and exceeds the jurisdictional
                          9   minimum.
                         10           103. Plaintiff is informed and believes, and on such basis alleges, that
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                         11   Plaintiff’s unjustified conduct was and is a substantial factor in causing Plaintiff’s
                         12   harm.
                         13           104. In committing the foregoing acts described herein, Defendants have
                         14   acted with oppression, fraud, and/or malice. In particular, the record shows that
                         15   Defendants’ obstruction of Plaintiff’s business with the sub-licensees was and is pre-
                         16   meditated and a deliberate and unlawful attempt to pressure Plaintiff into re-
                         17   negotiating the License Agreement to obtain more favorable terms for Defendants.
                         18   Plaintiff, therefore, is entitled to an award of punitive damages against Defendants
                         19   pursuant to California Civil Code section 3294.
                         20           105. Defendants have attempted and, unless enjoined, will continue to
                         21   intentionally disrupt Plaintiff’s contractual relationship with its sub-licensees.
                         22   Plaintiff will continue to suffer irreparable injury unless the Court restrains
                         23   Defendants’ wrongful conduct.
                         24                               SIXTH CLAIM FOR RELIEF
                         25             (Intentional Interference with Prospective Economic Advantage
                         26                        With Sub-Licensees Against All Defendants)
                         27           106. Plaintiff re-alleges each and every allegation set forth in paragraphs 1
                         28   through 62, above, and incorporates them herein by this reference.

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                                                                   COMPLAINT
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                          1         107. There exists a prospective economic relationship between and among
                          2   Plaintiff and sub-licensees in the Territories defined by the License Agreement,
                          3   including Plaintiff’s existing, long-term and self-renewing contracts with BGT and
                          4   BGM in Thailand and Malaysia, respectively, as well as current and/or prospective
                          5   relationships with other sub-licensees in other territories. There existed a probability
                          6   of future economic benefits to Plaintiff resulting from these prospective economic
                          7   relationships.
                          8         108. Plaintiff is informed and believes, and on such basis alleges, that
                          9   Defendants were, at all relevant times, aware of the existence of these prospective
                         10   economic relationships and the probability of the future economic benefits that
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                         11   Plaintiff would derive from such relationships.
                         12         109. Plaintiff is informed and believes, and on such basis alleges, that
                         13   Defendants, with the intent to injure Plaintiff, has undertaken a series of actions, as
                         14   alleged above, designed to intentionally interfere, disrupt, and/or prevent Plaintiff’s
                         15   prospective economic relationships with current and prospective sub-licensees.
                         16         110. Plaintiff is informed and believes, and on such basis alleges, that
                         17   Defendants’ actions alleged herein were independently wrongful separate from the
                         18   interference itself because, among other things, Defendants have violated the License
                         19   Agreement and the underlying covenant of good faith and fair dealing in the manner
                         20   alleged above, Defendants have deliberately and unjustifiably interfered with
                         21   Plaintiff’s current contractual relationships with its sub-licensees, and defendant
                         22   Marquee Brands deliberately and unjustifiably interfered with the License Agreement
                         23   for the unlawful purposes alleged herein.
                         24         111. As a direct and proximate result of Defendants’ conduct, as alleged
                         25   herein, Plaintiff’s prospective economic relationships have been disrupted and
                         26   Plaintiff has suffered damages in an amount to be proven at trial which far exceeds
                         27   the jurisdictional amount, plus statutory interest
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                                                                   COMPLAINT
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                          1           112. Plaintiff is informed and believes, and on such basis alleges, that
                          2   Defendants’ wrongful conduct was and is a substantial factor in causing Plaintiff’s
                          3   harm.
                          4           113. In committing the foregoing acts described herein, Defendants acted with
                          5   oppression, fraud, and/or malice. In particular, the record shows that Defendants
                          6   purposely obstructed the operation of Plaintiff’s sub-license agreements in a
                          7   deliberate attempt to pressure Plaintiff into re-negotiating the License Agreement and
                          8   obtain more favorable terms for Defendants, and prevent Plaintiff from
                          9   consummating any agreement with Yen Global Berhad pursuant to which the License
                         10   Agreement, in its present form, would be assumed by Yen Global Berhad. Plaintiff,
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                         11   therefore, is entitled to an award of punitive damages against Marquee Brands
                         12   pursuant to California Civil Code section 3294.
                         13           114. Defendants have attempted and, unless enjoined, will continue to
                         14   intentionally disrupt Plaintiff’s prospective economic relationships with sub-licensees
                         15   in the manner described herein. Plaintiff will continue to suffer irreparable injury
                         16   unless the Court restrains Defendants’ wrongful conduct.
                         17                             SEVENTH CLAIM FOR RELIEF
                         18                        (Declaratory Relief Against All Defendants)
                         19           115. Plaintiff re-alleges each and every allegation set forth in paragraphs 1
                         20   through 62, above, and incorporates them herein by this reference.
                         21           116. Plaintiff is an interested party in the validity and enforcement of the
                         22   provisions of the License Agreement, where there exists an actual controversy
                         23   relating to the legal rights and duties of the parties.
                         24           117. Plaintiff therefore seeks a declaration of rights and duties of the parties
                         25   under the License Agreement.
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                                                                    COMPLAINT
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                          1                                PRAYER FOR RELIEF
                          2         WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
                          3                                  First Claim for Relief
                          4         1.     For an award of compensatory damages according to proof, together with
                          5   interest permitted by law;
                          6         2.     For an award of attorney’s fees pursuant to Paragraph 26(c) of the
                          7   License Agreement; and
                          8         3.     For an order temporarily, preliminarily, and permanently enjoining
                          9   Defendants, their employees, agents, and anyone acting in concert or participation
                         10   with them, from engaging in any of the unlawful acts alleged herein.
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                         11                                 Second Claim for Relief
                         12         1.     For an award of compensatory damages according to proof, together with
                         13   interest permitted by law;
                         14         2.     For an award of attorney’s fees pursuant to Paragraph 26(c) of the
                         15   License Agreement; and
                         16         3.     For an order temporarily, preliminarily, and permanently enjoining
                         17   Defendants, their employees, agents, and anyone acting in concert or participation
                         18   with them, from engaging in any of the unlawful acts alleged herein.
                         19                                     Third Claim for Relief
                         20         1.     For an award of compensatory damages according to proof, together with
                         21   interest permitted by law;
                         22         2.     For an order temporarily, preliminarily, and permanently enjoining
                         23   Defendants, their employees, agents, and anyone acting in concert or participation
                         24   with them, from engaging in any of the unlawful acts alleged herein.
                         25         3.     For an award of punitive damages against defendant Marquee Brands
                         26   pursuant to California Civil Code section 3294.
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                          1                                     Fourth Claim for Relief
                          2         1.     For an award of compensatory damages according to proof, together with
                          3   interest permitted by law;
                          4         2.     For an order temporarily, preliminarily, and permanently enjoining
                          5   Defendants, their employees, agents, and anyone acting in concert or participation
                          6   with them, from engaging in any of the unlawful acts alleged herein.
                          7         3.     For an award of punitive damages against defendant Marquee Brands
                          8   pursuant to California Civil Code section 3294.
                          9                                      Fifth Claim for Relief
                         10         1.     For an award of compensatory damages according to proof, together with
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                         11   interest permitted by law;
                         12         2.     For an order temporarily, preliminarily, and permanently enjoining
                         13   Defendants, their employees, agents, and anyone acting in concert or participation
                         14   with them, from engaging in any of the unlawful acts alleged herein.
                         15         3.     For an award of punitive damages against defendant Marquee Brands
                         16   pursuant to California Civil Code section 3294.
                         17                                      Sixth Claim for Relief
                         18         1.     For an award of compensatory damages according to proof, together with
                         19   interest permitted by law;
                         20         2.     For an order temporarily, preliminarily, and permanently enjoining
                         21   Defendants, their employees, agents, and anyone acting in concert or participation
                         22   with them, from engaging in any of the unlawful acts alleged herein.
                         23   3.    For an award of punitive damages against defendant Marquee Brands pursuant
                         24   to California Civil Code section 3294.
                         25                                     Seventh Claim for Relief
                         26         1.     For a declaration that Plaintiff is in full compliance of the License
                         27   Agreement and that Defendants’ allegations of breach are without basis.
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                                                                  COMPLAINT
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                          1                              ALL CAUSES OF ACTION
                          2        1.    For Plaintiff’s costs of suit herein; and
                          3        2.    For all such other and further relief as the Court deems just and proper.
                          4
                              DATED: August 21, 2017                 DOLL AMIR & ELEY LLP
                          5

                          6
                                                                     By:_/s/ Michael M. Amir___________
                          7                                              MICHAEL M. AMIR
                          8
                                                                         JASON B. BAIM

                          9
                                                                     Attorneys for Plaintiff IP Global
                                                                     Investments America, Inc.
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                         12                           REQUEST FOR A JURY TRIAL
                         13        Plaintiff IP Global Investments America, Inc. requests a jury trial.
                         14

                         15
                              DATED: August 21, 2017                 DOLL AMIR & ELEY LLP

                         16

                         17                                          By:_/s/ Michael M. Amir___________
                                                                         MICHAEL M. AMIR
                         18                                              JASON B. BAIM
                         19                                          Attorneys for Plaintiff IP Global
                                                                     Investments America, Inc.
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                                                                 COMPLAINT
